Case: 1:16-cv-11152 Document #: 52 Filed: 10/05/17 Page 1 of 7 PagelD #:359

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BRENDA BROWN, )
Plaintiff, Civil Action No.: 1:16-cv-11152
Vv. Judge Marvin E. Aspen
KELLY SERVICES, INC, Magistrate Judge Sheila M. Finnegan
Defendant.

DEFENDANT’S OBJECTIONS TO PLAINTIFF’S
PROPOSED JURY INSTRUCTIONS

NOW COMES Defendant, KELLY SERVICES, INC., by and through its attorneys,
POTTER, DeAGOSTINO, O’DEA & PATTERSON and WILSON ELSER MOSKOWITZ
EDELMAN & DICKER LLP, and, pursuant to the Court’s August 28, 2017 Oder (Dkt. #39), objects
to Plaintiff's Proposed Jury Instructions as follows:

1. Plaintiff's Proposed Jury Instruction No. 1, Corporate Actors

Plaintiff seeks to have the Court read a “Corporate Actors” jury instruction that cites Illinois
(Civil) Pattern Jury Instruction 50.11. That instruction reads:

The [(plaintiff) (defendant) is a corporation] [the parties are corporations] and can act

only through [its] [their] officers and employees. Any act or omission of an officer

or employee within the scope of his employment is the action or omission of the

[plaintiff] [defendant] corporation.

Plaintiffs version reads:

A corporation may act only through natural persons as agents or employees; and, in

general, any employee of a corporation may bind the corporation by his or her acts

and statements made while acting in a managerial capacity or if an employee’s acts
were expressly authorized or ratified by Defendant.

 
Case: 1:16-cv-11152 Document #: 52 Filed: 10/05/17 Page 2 of 7 PagelD #:360

The modifications made to the instruction by Plaintiff reveal what Plaintiff is attempting to
do in this case and it is not proper. Plaintiff has asserted a single claim of retaliation. In order to
establish a claim of retaliation, Plaintiff must establish that the individual making the decision to
take an adverse action, which in this case was the end of Plaintiff's assignment, was aware of the
alleged protected activity, the June 20 complaint about the way African American applicants were
treated, because if the decision maker did not know about the protected activity the decision to take
the action could not have been in retaliation for the protected activity. Tomanovich y. City of
Indianapolis, 457 F.3d 656, 668-669 (7th Cir.2006).

Plaintiff cannot establish that the actual decision maker, Al Sowers, was aware of Plaintiffs
complaints on June 20" so she wants to instruct the jury that they can find in her favor based on the
conduct of “any employee” even without any evidence that Al Sowers was aware of her protected
activity. In terms of this case, Plaintiff wants to argue that the actions of Jennifer Lammers and/or
Nancy Spisak that Plaintiff complains about and their knowledge of protected activity are binding
on Defendant. In other words, as long as “any employee” had knowledge, that knowledge can be
imputed to the corporation to support Plaintiffs retaliation claim. This contention does not
accurately reflect the necessary proofs to establish relation and cannot be presented to the jury.

The instruction is not proper in this case because this case does not involve any agency
issues. Plaintiff cannot equate knowledge by Lammers with knowledge by all Kelly employees in
order to establish the requisite knowledge to support a retaliation claim. Plaintiff is attempting to
make an end run around a lack of evidence by including an instruction that would excuse her lack

of evidence regarding knowledge by the decision maker. The attempt must be rejected by the Court

 
Case: 1:16-cv-11152 Document #: 52 Filed: 10/05/17 Page 3 of 7 PagelD #:361

and Plaintiff's Proposed Jury Instruction No. 1 regarding “Corporate Actors” must be struck from
the jury instruction to be read to the jury in this case.

2. Plaintiff’s Proposed Jury Instruction No. 2, Retaliation

In submitting their proposed jury instruction on retaliation, both parties modify the standard
jury instruction from the 7” Cir. Model Civil Jury Instructions No. 3.02. The first difference relates
to the identification of the adverse action involved in this case. Plaintiff asserts she was terminated
while Defendant indicates that her assignment ended. Defendant’s verbiage is more accurate
because Plaintiff was not terminated from Kelly Services and was offered subsequent assignments
that she rejected.

The most significant difference between the parties proposed jury instructions is Defendant’s
inclusion of the following language: “Third, that the person or persons who made the decision to end
Plaintiff's assignment had actual knowledge of her complaints about race discrimination against
African American applicants.” The foregoing language is not part of the standard instructions but
neither are Plaintiffs first two explanatory paragraphs relating to engaging in protected activity and
the plaintiff only being required to show a good faith belief discrimination occurred rather than
having to prove discrimination actually existed. Plaintiff included these paragraphs to provide the
jury with additional detail about the parameters of what is required to prove her retaliation claim.
Defendant did not object to these explanatory paragraphs because they conform to cases interpreting
the elements of a retaliation claim. Defendant simply added an explanatory paragraph of its own
relating to knowledge by the decision maker being necessary to establish retaliation. Stated
differently, both parties deviate from the standard instruction and if Plaintiff is permitted to do so,

Defendant must be permitted to do so as well.

 
Case: 1:16-cv-11152 Document #: 52 Filed: 10/05/17 Page 4 of 7 PagelD #:362

Defendant disagrees with Plaintiff's position that the issue of knowledge is part of the
causation element. Plaintiff cites no case to support this contention. What is reflected in the
causation analysis is that knowledge by the decision maker is presumed because without knowledge
ofa protected activity there can be no retaliation. Plaintiff asserts the language regarding knowledge
is not necessary because it is implicit in the causation language. The same could be said for the
requirement that the plaintiff engaged in protected activity yet Plaintiffincludes a separate paragraph
in her instruction to specifically identify she engaged in protected activity. Plaintiff's objection to
the knowledge language states: “the causation element implicitly includes the jury finding that the
person who was responsible for the decision to end the Plaintiffs assignment had knowledge of her
discrimination complaint.” Thus, Plaintiff is not claiming the language included by Defendant is
improper or a misstatement of the law, just that she does not want the jury to be specifically advised
that she must establish knowledge by the decision maker. The attempt to hide that information from
the jury because she believes it is implicit for the jury cannot be permitted. Defendant is not asking
for an explanation of a legal doctrine but simply clarification of something Plaintiff must prove to
establish her retaliation claim.

The case law is clear that if a decision maker is not aware of the plaintiffs alleged protected
activity there is no basis to assert the decision was made in retaliation for the protected activity. “It
is not sufficient that [an employer] could or even should have known about [an employee's]
complaint; [the employer] must have had actual knowledge of the complaints for [its] decisions to
be retaliatory.” Tomanovich v. City of Indianapolis, 457 F.3d 656, 668 (7th Cir.2006) (alterations
in original) (quoting Luckie v. Ameritech Corp., 389 F.3d at 715); Miller v. Am. Family Mut. Ins.

Co., 203 F.3d 997, 1008 (7th Cir.2000) (“[A]n employer cannot retaliate when it is unaware of any

 
Case: 1:16-cv-11152 Document #: 52 Filed: 10/05/17 Page 5 of 7 PagelD #:363

complaints.”). This knowledge requirement exists under both the direct and indirect method of proof,
with “proof of retaliation under the indirect method presuppos[ing] that the decision-maker knew
that the plaintiff engaged in a statutorily protected activity, because if an employer did not know the
plaintiff made any complaints, it cannot be trying to penalize him for making them.” Tomanovich,
457 F.3d at 668-69 (citation omitted) (internal quotation marks omitted). Regardless of what method
of proof Plaintiff attempts to rely upon to support her retaliation claim, a necessary requirement to
assert her claim is that the decision maker had knowledge of her protected activity. Therefore, the
inclusion of the knowledge requirement in the instruction to be read to the jury is appropriate.
Plaintiff cannot be permitted to modify an instruction to assist its explanation about having
to establish a good faith belief about the existence of discrimination and then reject Defendant
offering a similar explanation regarding knowledge. There are two options to convey the
information to the jury. The first would be to read the standard instruction and then read special
instructions that offer plaintiff's explanation about protected activity and establishing a good faith
belief and defendant’s explanation about the knowledge requirement to support a retaliation claim.
The second option, which is what is being offered by Defendant’s proposed instruction is to include
the explanatory information within the framework of the standard jury instruction so it is presented
to the jury in one location at the same time. Plaintiff's attempt to avoid the portion of the instruction
regarding establishing knowledge by the decision maker is also consistent with Plaintiff's attempt
to hold Defendant as a corporation liable based on the actions and knowledge of Lammers and
Spisak, who were not involved in the decision to end Plaintiffs assignment. There is no evidence
in the record in this case that either Lammers or Spisak had any involvement in the decision to end

Plaintiff's assignment. So Plaintiff cannot rely on their knowledge to support her retaliation claims.

 
Case: 1:16-cv-11152 Document #: 52 Filed: 10/05/17 Page 6 of 7 PagelD #:364

In addition, while preparing its Objection, Defendant realized that the final paragraph of the
7" Cir. Model Civil Jury Instruction No. 3.02 was inadvertently omitted from its proposed retaliation
instruction. The final paragraph reads:
If you find that Plaintiffhas proved this by a preponderance of the evidence then you
must find for Plaintiff. However, if you find that Plaintiff did not prove this by a
preponderance of the evidence, then you must find for Defendant.
Regardless of what the final language of the retaliation instruction to be read to the jury is, Defendant
requests that the above paragraph from the standard instruction be included to advise the jury in
making its determination in this case.
3. Plaintiff's Proposed Jury Instruction No. 3, Punitive Damages
Rather than restating its position with regard to punitive damages, Defendant incorporates
and relies upon its Objection to Plaintiffs Proposed Verdict Form regarding punitive damages in this
case filed on this same date as if fully restated herein.
Based on the foregoing, Plaintiffs Instructions No. 1, 2, and 3 should be denied in favor of
reading Defendant’s Instruction No. 2.
Dated this 5" day of October, 2017
/s/Rick J. Patterson
Rick J. Patterson (Pro Hac Vice)
POTTER, DeAGOSTINO, O’DEA & PATTERSON
2701 Cambridge Court, Suite 223
Auburn Hills, Michigan 48326

248.377.1700 p . 248.377.0051 f
rjpatterson@potterlaw.com

 
Case: 1:16-cv-11152 Document #: 52 Filed: 10/05/17 Page 7 of 7 PagelD #:365

/s/Angela M. Sekerka

Angela M. Sekerka

WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP
55 West Monroe Street, Suite 3800

Chicago, Illinois 60603-5016

312.704.0550 p / 312.704.1522 f
angela.sekerka@wilsonelser.com

ATTORNEYS FOR DEFENDANT KELLY SERVICES, INC.

CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that on October 5, 2017, she caused
the foregoing pleading to be filed with the court by electronic filing protocols using
the CM/ECF system, and that a copy of the same will therefore be electronically
served upon all attorneys of record registered with the court’s CM/ECF system.

/s/RICK J. PATTERSON

 
